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                                                  U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, NY 10278



                                                      May 17, 2025
BY ECF
Hon. Loretta A. Preska
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

         Re:    United States v. Jared Solomon, 24 Cr. 665 (LAP)

Dear Judge Preska:

         The parties write to update the Court and to request that a motions schedule be entered.

         On May 8, 2025, following discussions between the undersigned and then-defense counsel,
Peter Toumbekis, the parties jointly filed a letter apprising the Court that they had reached an
“agreement in principle” regarding a pretrial resolution, apart from certain issues relating to
restitution, and requested that a change-of-plea proceeding be scheduled for the week of May 26,
2025. 1 (Dkt. 23.) This Court scheduled that proceeding for May 29, 2025, at 11:30 a.m. (Dkt.
24.)

       New defense counsel subsequently entered notices of appearance in this case. (See Dkts.
25-27.) While the parties expect to continue discussions regarding a possible pretrial resolution,
new defense counsel requires time to review the discovery in this case, 2 and therefore does not
expect any resolution to be reached by the currently scheduled change-of-plea date.

       Accordingly, the Government requests that the Court enter a pretrial motions schedule.
The defendant does not object to this request. The parties jointly propose the following pretrial
motions schedule:

         Defendant’s Motions: June 27, 2025

         Government’s Opposition: July 28, 2025

         Defendant’s Reply: August 11, 2025

         Oral Argument/Hearing Date (if necessary): August 25, 2025

1
  Due to the outstanding restitution issues, the Government had not (and still has not) extended a
formal plea offer.
2
    The Government re-produced the discovery in this case to new defense counsel on May 9, 2025.
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          In addition, the Government respectfully requests, with the consent of the defendant, that
   the time between May 29, 2025, and August 25, 2025 (or any other proceeding date set by the
   Court) be excluded pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).
   The Government respectfully submits that the ends of justice served by the granting of the
   proposed exclusion outweigh the best interests of the public and the defendant in a speedy trial, as
   the proposed exclusion will allow new defense counsel time to review discovery, engage in
   discussions regarding a possible pretrial resolution, and prepare pretrial motions.

          The parties remain available to appear before the Court for a status conference on May 29,
   2025, at 11:30 a.m., and defer to the Court regarding whether to hold such a conference.


                                                          Respectfully submitted,

                                                          PERRY CARBONE
                                                          Attorney for the United States,
                                                          Acting under Authority Conferred
                                                          by 28 U.S.C. § 515

                                                    By:
                                                          Adam Z. Margulies
                                                          Assistant United States Attorney
                                                          (212) 637-2345
   Cc:    All Counsel of Record (by ECF)
The Court hereby adopts the parties' proposed briefing schedule for
pretrial motions. The hearing currently scheduled for May 29, 2025 is
adjourned to September 3, 2025 at 10:30 a.m. The time from May 29, 2025
to September 3, 2025 is excluded pursuant to the provisions of the
Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), in the interest of
justice. The Clerk of the Court shall close dkt. no. 28.
SO ORDERED.

Dated: May 21, 2025

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                                                                       LORETTA A. PRESKA, U.S.D.J.




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